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                                                 24-MJ-894




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                    AFFIDAVIT IN SUPPORT OF COMPLAINT

       I, Tyler Jack Rackham, being first duly sworn, hereby depose and state as follows:

                  INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I

have been employed with the FBI since January 2020. As such, I am a “federal law

enforcement officer” within the meaning of Federal Rule of Criminal Procedure

41(a)(2)(C), that is, a government agent with statutory arrest authority charged with

conducting criminal investigations of alleged violations of federal criminal statutes,

including Title 18 of the United States Code. Prior to my employment by the FBI, I was a

Law Enforcement Officer in the State of Utah for six years. I am presently assigned to the

Farmington Resident Agency (RA), Albuquerque Division, where my duties include

investigating violations of Federal law, specifically those violations occurring on the

Navajo Indian Reservation.

       2.      I have received training and gained experience in the investigation and

enforcement of major crimes including murder, firearms offenses, and other federal crimes.

Additionally, I have received training and experience in interview techniques, arrest

procedures, search warrant applications, the execution of searches and seizures, and

various other criminal laws and procedures. I have previously participated in investigations

within Indian Country involving the crimes enumerated below.

       3.      The facts in this affidavit come from my personal observations, my training

and experience, and information obtained from other agents, law enforcement officers, and

witnesses. Because this affidavit is submitted for the limited purpose of securing a criminal
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complaint, I have not included each and every fact known to me concerning the

investigation. I have set forth only those facts that I believe are necessary to establish that

probable cause to support a criminal complaint as explained below.

       4.        This affidavit is being submitted in support of a criminal complaint charging

Dewayne George (GEORGE) with one count of Accessory After the Fact, in violation of

18 U.S.C. § 3.

                                     RELEVANT STATUTES

       5.        18 U.S.C. § 3 states: “Whoever, knowing that an offense against the United

States has been committed, receives, relieves, comforts or assists the offender in order to

hinder or prevent his apprehension, trial or punishment, is an accessory after the fact.”

       6.        18 U.S.C § 1153 states: “Any Indian who commits against the person or

property of another Indian or other person any of the following offenses, namely, murder,

manslaughter, kidnapping, maiming, a felony under chapter 109A, incest, a felony assault

under section 113, an assault against an individual who has not attained the age of 16 years,

felony child abuse or neglect, arson, burglary, robbery, and a felony under section 661 of

this title within the Indian country, shall be subject to the same law and penalties as all

other persons committing any of the above offenses, within the exclusive jurisdiction of

the United States.

       7.        18 U.S.C. § 1111 states: “Murder is the unlawful killing of a human being

with malice aforethought. Every murder perpetrated by poison, lying in wait, or any other

kind of willful, deliberate, malicious, and premeditated killing; or committed in the

perpetration of, or attempt to perpetrate, any arson, escape, murder, kidnapping, treason,

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espionage, sabotage, aggravated sexual abuse or sexual abuse, child abuse, burglary, or

robbery; or perpetrated as part of a pattern or practice of assault or torture against a child

or children; or perpetrated from a premeditated design unlawfully and maliciously to effect

the death of any human being other than him who is killed, is murder in the first degree.

                                   PROBABLE CAUSE

       8.      At 10:05 p.m. on April 24, 2024, Navajo Nation Police Department (NNPD)

was notified that there were shots fired near United States (U.S.) Highway 491 near

milepost 40, which is within the exterior boundaries of Navajo Nation. Officers made

contact with P.D., the reporting party. P.D. stated he/she was traveling south on U.S.

Highway 491 returning from Utah. P.D. pulled his/her vehicle over on the shoulder of the

road so P.D.’s child and grandchildren could get out of the vehicle and stretch their legs.

During this time a white SUV parked behind P.D.’s vehicle.

       9.      P.D. and his/her family returned to their vehicle and traveled south. The

white SUV began to follow P.D. and eventually rear ended P.D.’s vehicle. P.D. was scared

and heard loud pops that sounded like gunfire. P.D. told his/her grandchildren to get down.

The white SUV continued to pursue P.D. and eventually pulled up next to P.D.’s vehicle.

P.D. observed more gunfire and perceived it was coming from the front passenger of the

white SUV. The white SUV later collided with the left side of P.D.’s vehicle. P.D. was

eventually able to pull off the highway to a residence to get help.

       10.     Investigators also interviewed P.D.’s adult child, M.S. who was also in the

vehicle. M.S. stated they had pulled over on the side of the road when a vehicle approached

and parked behind their car. M.S. described the vehicle as a white SUV with the front

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passenger headlight out. M.S. got back in their vehicle with everyone else and they began

traveling south. The white SUV followed and ran into the back of the vehicle M.S. was

riding in. M.S. heard loud popping and believed their vehicle was being shot at. The white

SUV pulled up to the left side and M.S. saw a male passenger pointing an object outside

his window and firing toward M.S.’s vehicle. M.S. stated they eventually pulled off the

highway toward a residence to get help.

       11.     Responding NNPD officers inspected P.D.’s vehicle and observed three

bullet holes in the trunk lid of the car, one bullet hole on the driver’s side door and window,

and one bullet hole on the left rear passenger window.

       12.     Following this information, NNPD officers in the area were on the lookout

for a white SUV with a headlight out. Officers later observed a white SUV with a front

headlight out traveling south on US Highway 491. Officers pursued the vehicle, which

appeared to be making attempts to evade the officers. While following the white SUV,

officers observed the occupants of the white SUV throwing items out of the vehicle. The

white SUV eventually crashed. Officers took into custody three individuals who were in

the vehicle, later determined to be Rydell Happy (“HAPPY”), Britannia Navaho

(“NAVAHO”), and GEORGE.

       13.     Officers took photographs of the white SUV and observed what appeared

to be .22 caliber shell casings, cell phones, a pellet gun, and what appeared to be blood on

the driver’s side floorboard. The white SUV was a Toyota Highlander.




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                               INTERVIEW OF NAVAHO

       14.     On April 26, 2024, investigators interviewed NAVAHO regarding the

aforementioned events. In a post-Miranda statement, NAVAHO told investigators that she

was with HAPPY and GEORGE in Gallup earlier that day. NAVAHO was driving her

white Toyota SUV north from Gallup with HAPPY and GEORGE.                     HAPPY and

GEORGE were passed out in the back seat. NAVAHO stopped and picked up a

hitchhiker. NAVAHO told investigators the hitchhiker eventually pulled a knife and made

her move to the passenger side of the vehicle. The hitchhiker got in the driver’s seat and

began to drive NAVAHO’s vehicle. The hitchhiker eventually chased a white car and

began shooting at it. When questioned regarding the gun the hitchhiker possessed,

NAVAHO stated she did not know what kind of gun it was, but described it as a black

handgun. Eventually when the police came, the hitchhiker fled from the police while

driving NAVAHO’s vehicle. The hitchhiker also directed NAVAHO to throw things from

the vehicle. NAVAHO stated the hitchhiker was able to jump out of the car and escape

and that is why he was not found by police when NAVAHO, HAPPY and GEORGE were

found in the vehicle.

       15.     NAVAHO was later questioned further regarding the firearm the hitchhiker

had and NAVAHO advised it was a firearm she had purchased earlier in Gallup at a

pawnshop. NAVAHO stated the hitchhiker found the gun while he was driving the car.

NAVAHO stated she purchased a necklace and the firearm at the pawnshop. NAVAHO

stated she purchased the firearm because it was one she had wanted for a while. NAVAHO

said she was not sure what caliber the firearm was but eventually divulged that it was a .22

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caliber revolver. NAVAHO also purchased .22 caliber ammunition from the pawnshop.

NAVAHO stated the pawnshop was on the east side of Gallup, but she did not recall the

name of the store.

                               INTERVIEW OF HAPPY

       16.     On April 26, 2024, HAPPY was interviewed regarding the aforementioned

events. In a post-Miranda statement, HAPPY advised he had been in Gallup with

NAVAHO and GEORGE. HAPPY had planned on meeting some friends in Gallup.

HAPPY spent the day drinking alcohol and going to liquor stores. HAPPY was riding in

the back seat of NAVAHO’S vehicle when NAVAHO picked up a hitchhiker. After

picking up the hitchhiker, HAPPY passed out because of the amount of alcohol he had

been drinking throughout the day. HAPPY recalled being taken into custody by NNPD but

stated he did not know why. HAPPY stated he did not know much of what happened after

picking up the hitchhiker because he was passed out. HAPPY stated he was an enrolled

member of Navajo Nation.

                              INTERVIEW OF GEORGE

       17.     GEORGE was interviewed on April 26, 2024, and stated he is an enrolled

member of Navajo Nation. GEORGE was provided a Miranda warning and agreed to

speak with investigators. GEORGE initially began to provide statements to law

enforcement that told a similar story to statements made by NAVAHO and HAPPY.

After further questioning, however, GEORGE changed his story and told investigators

he was going to tell the truth about what happened.




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       18.     GEORGE then explained that he was recently released from custody on

unrelated charges when he contacted HAPPY using Facebook messenger asking to be

picked up. HAPPY and NAVAHO then picked up GEORGE near a 711-convenience

store at approximately 5:00 am on April 24th. At some point during the day, HAPPY,

GEORGE, and NAVAHO picked up another individual (JOHN DOE) whom GEORGE

had never met before. GEORGE noted that HAPPY seemed to know JOHN DOE. During

the time they were in Gallup, HAPPY asked NAVAHO to purchase him a firearm.

NAVAHO then purchased a black revolver for HAPPY.

       19.     GEORGE stated that throughout that day, the group participated in

criminal activity at the direction of HAPPY, including, but not limited to, a shooting that

occurred in Gallup, New Mexico, earlier that same day (the “Gallup shooting”), and the

above referenced shooting of P.D.’s vehicle that occurred within the exterior boundaries of

Navajo Nation (the “P.D. shooting”). GEORGE admitted that he was the one who shot

the victim in Gallup but stated that he was told to do the shooting by HAPPY.

       20.     Regarding the P.D. shooting, GEORGE stated he was riding in the back

seat of the vehicle with NAVAHO. JOHN DOE was driving and HAPPY was in the front

passenger seat. They were driving down the road when they saw a vehicle. They

approached the vehicle and at some point, HAPPY began shooting at the car and its

occupants.

       21.     GEORGE explained that after the P.D. shooting, HAPPY began to argue

with JOHN DOE. At one point HAPPY told the group to get out of the car. JOHN DOE,

HAPPY, GEORGE, and NAVAHO all exited the vehicle. GEORGE heard HAPPY tell

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JOHN DOE to get on his knees. JOHN DOE got on his knees and HAPPY shot him with

the revolver. After shooting JOHN DOE, HAPPY grabbed a baseball bat and began hitting

JOHN DOE in the head repeatedly. GEORGE told investigators where the body of JOHN

DOE could be recovered. GEORGE also drew a map of the area to assist in finding JOHN

DOE.

        22.   On April 27, 2024, GEORGE was interviewed again by investigators.

GEORGE provided additional details regarding the suspected homicide. GEORGE stated

that after HAPPY directed JOHN DOE to get on his knees, JOHN DOE began to beg for

his life. HAPPY began laughing and pulled the trigger on the firearm. The firearm did not

discharge but GEORGE heard the gun click. HAPPY continued to laugh and pulled the

trigger multiple times until the gun finally discharged, shooting JOHN DOE. GEORGE

also noted that after the killing, HAPPY asked GEORGE to drag the body over the edge

of a cliff. GEORGE helped HAPPY drag the body and push it over the edge. GEORGE

also stated that HAPPY had thrown the baseball bat and the gun out of the window of the

car prior to being taken into custody by NNPD.

                          ADDITIONAL INVESTIGATION

        23.   Following the map prepared by GEORGE in his first interview,

Investigators responded to the area that GEORGE described and found JOHN DOE

deceased with severe head injuries. The area around John Doe’s body had a substantial

amount of blood on the ground. When processing the scene, it appeared John Doe was

likely killed, and later dragged over the edge of a cliff. John Doe’s body dropped to the

next ledge below where he was killed and that was where his body was discovered. Due

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to the amount of blood at the scene, investigators determined it would be likely that the

killer would have blood on his/her clothing. Investigators determined that the area where

John Doe was recovered, at approximate GPS coordinates 36.4768434, -108.6809528, was

within the exterior boundaries of the Navajo Nation.

        24.     Investigators examined clothing worn by HAPPY when he was taken into

custody and found what appeared to be a staining and spatter consistent with blood on his

pants and shoes. Investigators also checked the clothing of GEORGE and NAVAHO but

did not observe any blood-like substances. Investigators did observe shoe imprints at the

scene near drag marks near the body that upon initial analysis appear to resemble the tread

of shoes worn by GEORGE, further corroborating GEORGE’s account.

        25.     The information GEORGE provided regarding the purchase of the revolver

was further corroborated when investigators responded to Southwest Jewelry Pawn Shop

in Gallup. Investigators spoke with G.H., a store employee. G.H. advised that on April 24,

2024, two males were in the store looking at firearms. G.H. noted one of the males had a

tattoo on his face or neck. G.H. asked the males to provide ID but they refused and left the

store. A few minutes later another individual entered the store and purchased a black .22

caliber revolver. The invidivual who purchased the revolver was NAVAHO. G.H. did not

know that NAVAHO was associated with the males who were in his store minutes earlier

until G.H. saw NAVAHO exit the store. When NAVAHO exited the store, she entered a

white SUV with the same males who were in the store earlier. G.H.’s description that one

of the males had a facial or neck tattoo appears consistent with HAPPY, who has a tattoo

on the side of his face.

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       26.     Although a .22 revolver has not yet been recovered in this investigation,

Investigators have collected the purchasing paperwork from the pawnshop to identify the

make, model, and serial number of the firearm purchased by NAVAHO and believed to

have been used by GEORGE and HAPPY.

       27.     In follow-up investigation, NNPD officers were notified that this same

vehicle was involved in the Gallup shooting discussed above. Reports about the Gallup

shooting note that on April 24, 2024, at approximately 7:56 pm, officers responded to the

area of Carbon Coal Road and US 491, where they made contact with E.L.             E.L. told

investigators that three males and one female had picked him/her up in a white Toyota

Sequoia. The female was driving the vehicle and E.L. sat in the rear seat of the vehicle with

two other males. E.L provided them $20.00 and they were going to give him/her a ride to

town. At one point they tried to get additional money from E.L. E.L. did not have more

money to provide them and they forced him out of the vehicle. E.L. stated the back

passenger then handed the front passenger a black revolver. E.L. heard someone say “shoot

him in the knee cap”. The male that was the front passenger then shot E.L. in the leg.1

                                     CONCLUSION

       28.     Based on the above information, I submit that there is probable cause to

believe that GEORGE violated federal law by committing the offense of Accessory After

the Fact, in violation of 18 U.S.C. § 3, when he helped drag JOHN DOE’s body over a



1
 Although E.L.’s statement appears to place GEORGE in the front passenger seat of the
vehicle during the Gallup shooting, this incident happened multiple hours before the P.D.
shooting where HAPPY is believed to have been shooting from the front passenger seat.

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cliff in an attempt to hide the body following JOHN DOE’s murder at the hands of

HAPPY.

       29.     Therefore, I respectfully request that the Court approve the attached

criminal complaint and issue an arrest warrant.

       30.     This complaint was reviewed and approved by Assistant United States

Attorney Eliot Neal.


                                             ______________________________
                                             Tyler Jack Rackham
                                             Special Agent
                                             Federal Bureau of Investigation


Subscribed to and sworn before
me this VWdayy of -XQH 2024


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